Case 3:17-cV-00315-I\/|HL Document 18 Filed 08/31/18 Page 1 of 10 Page|D# 118

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

MORGAN A. ROBERTS,
Plaintiff,
v. Civil Action No. 3;17cv315

BERKLE WELDING & FABRICATING,
INC., d/b/a BERKLE CONTRACTING, INC.

Defendant.

MEMORANDUM OPINION
This matter comes before the Court on Berkle Welding & Fabrication, Inc., dfb/a Berkle
Contracting Inc.’s (“Berkle”) Amended Motion to Dismiss (the “Motion to Dismiss”) pursuant to
Rules lZ(b)(l)' and 12(b)(6)2 of the Federal Rules of Civil Procedure. (ECF No. 14.) On
December 12, 2017, Plaintiff Morgan Roberts responded. (ECF No. 17.) Berkle did not reply
and the time to do so has expired.
The Court dispenses with oral argument because the materials before it adequately

present the facts and legal contentions, and argument would not aid the decisional process. The

 

l “[A] party may assert the following defense[] by motion: (1) lack of subject-matter
jurisdiction.” Fed. R. civ. P. 12(b)(1).

2 Rule 12(b)(6) allows dismissal for “failure to state a claim upon which relief can be
granted.” Fed. R. Civ. P. 12(b)(6).

Case 3:17-cV-00315-I\/|HL Document 18 Filed 08/31/18 Page 2 of 10 Page|D# 119

Court exercises jurisdiction pursuant to 28 U.S.C. §§ 13313 and 1367.4 For the reasons that
follow, the Court Will deny the Motion to Dismiss.

I. Factual and Procedural Bac round5

Roberts brings this action against Berkle seeking unpaid wages, liquidated damages,
interest, and costs and attorneys’ fees under the FLSA. Roberts also claims breach of an
employment contract6 (the “Contract”) between Berkle and Roberts, As damages for his breach
of contract claim, Roberts seeks unpaid wages, interest, and costs.

On October 17, 2016, Roberts accepted employment with Berkle to perform services as a
Welder. At all relevant times, according to Roberts, Berkle was an employer subject to and with
knowledge of the minimum wage and overtime requirements of the FLSA. Per the Contract,
Berkle agreed to pay Roberts $22 per hour for all standard Welding jobs and $27 per hour for all
aluminum Welding jobs. Additionally, “Berkle required Roberts to take welding certification
tests as a term and condition for his hire and of his employmen .” (Compl. ‘[[ 12, ECF No. l.)
Roberts took the welding certification tests.

During the Work week ending on January 15, 2017, Roberts worked a total of 44.5 hours

at the aluminum welding rate of $27 per hour and at the overtime rate of $40.50 per hour. The

 

3 “The district courts shall have original jurisdiction of all civil actions arising under the
Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. Roberts’s Complaint
alleges violations of the Fair Labor Standards Act of 1938 (the “FLSA”), 29 U.S.C. § 201 et seq.

4 “[I]n any civil action of which the district courts have original jurisdiction, the district
courts shall have supplemental jurisdiction over all other claims that are so related to claims in
the action within such original jurisdiction that they form part of the same case or
controversy . . . .” 28 U.S.C. § 1367(a). Roberts’s Complaint also alleges violations of Virginia
contract law.

5 For purposes of the Motion to Dismiss, the Court will assume the well-pleaded factual
allegations in the Complaint to be true and Will view them in the light most favorable to Roberts.
Mylan Labs., Inc. v. Matkari, 7 F.3d 1130, 1134 (4th Cir. 1993).

6 Berkle does not attach the Contract to his Complaint.

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Case 3:17-cV-00315-I\/|HL Document 18 Filed 08/31/18 Page 3 of 10 Page|D# 120

following Week, ending on January 22, 2017, Roberts worked sixteen (16) hours at the standard
welding rate of $22 per hour. Roberts claims that Berkle withheld both of Roberts’s paychecks
for these two work weeks.

Because Berkle withheld two weeks’ paychecks, Roberts received no compensation for
the 60.5 hours of work he completed during the weeks ending on January 15, 2017, and January
22, 2017 . Roberts alleges that Berkle owes him $1,614.25 pursuant to the Contract, and $454.96
pursuant to the FLSA minimum wage and applicable overtime standards

Count 1 of the Complaint alleges that Berkle Willfully failed to pay Roberts all minimum
and overtime compensation due to him under the FLSA during the Workweeks ending on January
15, 2017, and January 22, 2017. Count 2 alleges breach of contract under Virginia law for
Berkle’s failure to compensate Roberts for his work according to the terms of the Contract.

As compensation for the FLSA violations alleged in Count 1, Roberts seeks damages of
$454.96 for his unpaid wages, liquidated damages of $454.96, interest, and costs and attomey’s

fees. As to Count 2, Roberts seeks damages of $l,6l4.25 in unpaid wages, interest, and costs.

II. Legal Standards
A. Federal Rule of Civil Procedure 121b}jl| Standard

In a motion to dismiss under F ederal Rule of Civil Procedure 12(b)(1) challenging the
Court’s subject-matter jurisdiction, the burden rests with the party asserting jurisdiction to prove
that federal jurisdiction is proper. See Int’l Longshoremen's Ass 'n, S.S. Clerks Local 1624, AFL-
CIO v. Virginia Int'l Terminals, Inc., 914 F. Supp. 1335, 1338 (E.D. Va. 1996) (citing McNutt v.
Gen. Motors Acceptance Corp., 298 U.S. 178, 189 (1936); see also, Adams v. Bain, 697 F.2d
1213, 1219 (4th Cir. 1982)). A motion to dismiss pursuant to Rule 12(b)(1) can attack subject-

matter jurisdiction in two ways.

Case 3:17-cV-00315-I\/|HL Document 18 Filed 08/31/18 Page 4 of 10 Page|D# 121

First, a Rule l2(b)(1) motion may attack the complaint on its face, asserting that the
complaint fails to state a claim upon which subject-matter jurisdiction can lie.7 See Int ’l
Longshoremen ’s Ass 'n, 914 F. Supp. at 1338; see also Adams, 697 F.2d at 1219.

A Rule 12(b)(1) motion also may, as Berkle does here, challenge the existence of subject-
matter jurisdiction in fact, apart from the pleadings See Richmond, Fredericlcrburg & Potomac
R.R. Co. v. United States, 945 F.2d 765, 768 (4th Cir. 1991); Int’l Longshoremen ’s Ass ’n, 914 F.
Supp. at 1338; see also Adams, 697 F.2d at 1219. In such a case, because a party challenges the
court’s “‘very power to hear the case,”’ the trial court is free to weigh evidence to determine the
existence of jurisdiction, Int ’l Longshoremen ’s Ass 'n, 914 F. Supp. at 1338 (quoting Mortensen
v. First Fed. Sav. & Loan Ass ’n, 549 F.2d 884, 891 (3d Cir. 1977)). Consideration of evidence
outside of the pleadings on a 12(b)(1) motion does not necessarily convert the motion to one for
summary judgment. Evans v. B.F. Perkins Co., 166 F.3d 642, 647 (4th Cir. 1999) (citation
omitted).

Regardless of Whether the defendant brings a facial or factual challenge, the plaintiff
bears the burden of proof to establish jurisdiction, United States ex rel. Vuyyuru v. Jadhav, 555
F.3d 33 7, 348 (4th Cir. 2008); Richmond, Frederick.s'burg & Potomac R.R. Co. v. United States,
945 F.2d 765, 768 (4th Cir. 1991).

B. Federal Rule of Civil Procedure 121b[g6} Standard

In considering a motion to dismiss for failure to state a claim, a plaintiffs well-pleaded
allegations are taken as true and the complaint is viewed in the light most favorable to the

plaintiff. Matkari, 7 F.3d at 1134; see also Republican Party of N. C. v. Martin, 980 F.2d 943,

 

7 In such a challenge, a court assumes the truth of the facts alleged by plaintiff, thereby
functionally affording the plaintiff the same procedural protection he or she would receive under
a Rule 12(b)(6) consideration See Ini’l Longshoremen ’s Ass 'n, 914 F. Supp. at 1338; see also
Adams, 697 F.2d at 1219.

Case 3:17-cV-00315-I\/|HL Document 18 Filed 08/31/18 Page 5 of 10 Page|D# 122

952 (4th Cir. 1992). This principle applies only to factual allegations, however, and “a court
considering a motion to dismiss can choose to begin by identifying pleadings that, because they
are no more than conclusions, are not entitled to the assumption of truth.” Ashcroji v. Iqbal, 556
U.S. 662, 679 (2009). “A motion to dismiss under Rule 120))(6) tests the sufficiency of a
complaint; importantly, it does not resolve contests surrounding the facts, the merits of a claim,
or the applicability of defenses.” Martin, 980 F.2d at 952 (citing 5A Charles A. Wright & Arthur
R. Miller, Federal Practice and Procedure § 1356 (1990)).

The Federal Rules of Civil Procedure “require[] only ‘a short and plain statement of the
claim showing that the pleader is entitled to relief,’ in order to ‘give the defendant fair notice of
what the . . . claim is and the grounds upon which it rests.”’ Bell Atl. Corp. v. Twombly, 550
U.S. 544, 555 (2007) (omission in original) (quoting Conley v. Gz'bson, 355 U.S. 41, 47 (1957)).
Plaintiffs cannot satisfy this standard with complaints containing only “labels and conclusions.”
Id. (citations omitted). Instead, a plaintiff must assert plausible facts. Iqbal, 556 U.S. at 678-79
(citing Twombly, 550 U.S. at 570; Fed. R. Civ. P. 8(a)(2)). “A claim has facial plausibility when
the plaintiff pleads factual content that allows the court to draw the reasonable inference that the
defendant is liable for the misconduct alleged.” Id. at 678 (citing Twombly, 550 U.S. at 556).

“If, on a motion under Rule 12(b)(6) . . . , matters outside the pleadings are presented to
and not excluded by the court, the motion must be treated as one for summary judgment under
Rule 56,” and “[a]ll parties must be given a reasonable opportunity to present all the material that
is pertinent to the motion.” Fed. R. Civ. P. 12(d); see Laughlin v. Metro. Wash. Airports Auth.,
149 F.3d 253, 260-61 (4th Cir. 1998); Gay v. Wall, 761 F.2d 175, 177 (4th Cir. 1985). However,
“a court may consider official public records, documents central to plaintist claim, and

documents sufficiently referred to in the complaint [without converting a Rule 12(b)(6) motion

Case 3:17-cV-00315-I\/|HL Document 18 Filed 08/31/18 Page 6 of 10 Page|D# 123

into one for summary judgment] so long as the authenticity of these documents is not disputed.”
Witthohn v. Fed. Ins. Co., 164 F. App’x 395, 396~97 (4th Cir. 2006) (citations omitted).

III. Anal sis

A. The Court Has Subject-Matter Jurisdiction Because the Earlier State Action
Has Concluded

On April 24, 2017, Roberts filed the Complaint in this Court. Count l of the Complaint
alleges FLSA violations. Because the FLSA is a federal statute, Count 1 presents a federal
question over which the Court retains subject-matter jurisdiction pursuant to 28 U.S.C § 1331.
Count 2 alleges breach of contract under Virginia law. The Court has supplemental jurisdiction
over Count 2 pursuant to 28 U.S.C. § 1367, which grants the Court jurisdiction over claims so
related to the federal question claim that it forms a part of the same case or controversy. See 28
U.S.C. § 1367.

Berkle challenges subject-matter jurisdiction in fact, arguing that the Court lacks subj ect-
matter jurisdiction because a parallel, pending state action existed at the time Roberts filed the
Complaint. Berkle contends that on March 10, 2017, Roberts filed an action in the Henrico
County Circuit Court (the “Henrico Court”) alleging: (1) unpaid wages under the FLSA; and,
(2) breach of contract. On April 24, 2017, more than one month later, Roberts filed the
Complaint in this Court. Four days later, on April 28, 2017, Roberts moved to nonsuit the state
court action, and on May 2, 2017, the Henrico Court granted the motion pursuant to Virginia
code § 8.01-330.8

The Court must consider whether the previously filed state court action affects the

viability of the subsequent federal action premised on the same transaction and occurrence and

 

8 Section 8.01-3 80 governs dismissals of actions by nonsuit, including fees and costs.
Va. Code. § 8.01-380.

Case 3:17-cV-00315-I\/|HL Document 18 Filed 08/31/18 Page 7 of 10 Page|D# 124

presenting the same legal claims.9 See Colorado River Water Conservation District v. United
States, 442 U.S. 800, 817 (1976). If the earlier state action has concluded, the Court may be
bound by res judicata. Id. If the previously-filed state action remains pending, the Court may
find abstention necessary to maintain federal-state comity. Id. “Abstention is not in order
simply because a pending state-court proceeding involves the same subject matter.” Sprint
Commc ’ns, Inc. v. Jacobs, 571 U.S. 69, 72 (2013) (citing New Orleans Pub. Serv., Inc. v.
Council, 491 U.S. 350, 373 (1989)). For the reasons stated below, the Court has subject-matter
jurisdiction in this federal case that follows a concluded state court matter.

Roberts nonsuited before the Henrico Court made any substantive findings in the case, so
no prior final judgment exists that might bind this Court under the doctrine of res judicata
Because the action filed in Henrico has concluded (and had concluded even before Berkle filed
its original Motion to Dismiss), no parallel pending state action exists that might otherwise
require the Court to engage in an abstention analysis. See Colorado River, 442 U.S. at 817.

The Court therefore finds that the now-terminated state court action filed in Henrico
Court does not deprive this Court of jurisdiction over Roberts’s claims. The Court will deny
Berkle’s 12(b)(l) motion to dismiss.

B. Roberts Plausibly States a Claim for Relief for FLSA Violations and a
Claim for Breacl_r of Col_rtract

Having found that it has jurisdiction, the Court turns to Berkle’s 12(b)(6) argument The
Motion to Dismiss presents only one ground for dismissal pursuant to 12(b)(6): that Roberts
failed to attach a copy of the Contract, purportedly in violation of the Rules of the Supreme

Court of Virginia. But Berkle fails to explain the relevance of the Rules of the Supreme Court of

 

9 Roberts does not contest the characterization of the state and federal actions as premised
on the same transaction and presenting the same legal claims. Based on the basis for the Court’s
holding, the Court need not compare the actions.

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Case 3:17-cV-00315-I\/|HL Document 18 Filed 08/31/18 Page 8 of 10 Page|D# 125

Virginia (and does not cite to any state court cases interpreting them) to this federal case. State
procedural rules do not govern practice in federal court.10

Berkle attaches a one-page document (the “Document”), (ECF No. 14-1), and claims,
without elaboration, that the Document “is a complete bar to [Roberts’s] case.” (Mot. Dismiss
jj 24, ECF No. 14.) Berkle cites to no legal principle that would allow the Court to consider such
a document at this stage of the litigation. When the Court considers “matters outside the
pleadings” on a motion to dismiss under Rule 12(b)(6), the Court must generally treat the motion
as one for summary judgment. Fed. R. Civ. P. 12(d). Exceptions exist: “a court may consider
official public records, documents central to plaintiffs claim, and documents sufficiently
referred to in the complaint [without converting a Rule 12(b)(6) motion into one for summary
judgment] so long as the authenticity of these documents is not disputed.” Witthohn, 164 F.
App’x at 396-97 (citations omitted).

Although Berkle does not argue that the Document is integral to the Complaint, Roberts’s
Response argues against such a position. Specifically, Roberts claims the Document is not
integral to the Complaint and that the Document does not constitute the entirety of the
contractual agreement between Roberts and Berkle. Roberts argues that “[t] he Document is
unnecessary for Roberts’s claims for unpaid compensation under either federal or state law;
Roberts is not relying on the Document as part of his affirmative case; the Document is not
integral to his affirmative case.” (Resp. 2-3, ECF No. 17.)

As Roberts indicates, the Document “says nothing about the FLSA or Roberts’s hourly

rates of pay.” (Resp. 2.) Although Berkle refers to the Document as “the contract,” the

 

'° Even were the Court to consider Roberts’s failure to attach a contract, settled federal
law provides that the failure to attach a contract to a complaint alleging breach of contract does
not constitute a fatal flaw. See Koken v. Aon Risk Servs., No. 3:05cv522, WL 90068, at *7 (E.D.
Va. Jan. 13, 2006) (citing Watterson v. Page, 987 F.2d l, 3 (1st Cir. 1993); see also, GFF Corp.
v. Assoc. Wholesale Grocers, Inc., 130 F.3d 1381, 1385 (lOth Cir. 1997)).

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Case 3:17-cV-00315-I\/|HL Document 18 Filed 08/31/18 Page 9 of 10 Page|D# 126

Document itself lacks such language. Also, nothing suggests that the Document_-even if
authentic, as Roberts concedes-encompasses the entirety of the employment agreement
between Roberts and Berkle. The absence of essential contract elements that the Complaint
addresses, such as hourly rates, demonstrates that the Document does not contain all material
aspects of the Contract here contested. The Court cannot find that the Document constitutes the
Contract Roberts refers to throughout his Complaint. No exception to the general directive
barring consideration of the Document for the Motion to Dismiss seems evident, either. Nothing
identifies the Document as a public record, one central to Roberts’s claim, or necessarily the
Contract referred to in the Complaint. See Witthohn, 164 F. App’x at 396-97 (citations omitted).
The Court cannot consider the Document at this early stage because no basis exists to find the
Document integral to the Complaint.ll

Instead, the Court concludes that Roberts plausibly describes his employment contract
and plainly alleges that Berkle breached the compensation provisions By plausibly alleging his
hourly rate, the number of hours he worked during the two challenged weeks in January 2017,
and that Berkle withheld the two paychecks related to the work Roberts completed during those
two weeks in violation of the Contract, Roberts’s claims readily survive the Motion to Dismiss.
A plaintiff need not prove his or her case at the pleading stage. See Twombly, 550 U.S. at 570;
Iqbal, 556 U.S. at 678. Roberts alleges sufficient facts to raise the plausibility of liability above
a specmative lever12 see Twombly, 550 U.s. at 570;1qba1, 556 U.s. at 673. The Court win

deny Berkle’s 12(b)(6) motion to dismiss.

 

ll Berkle eschewed any opportunity to argue otherwise when it failed to file a reply to
Roberts’s Response.

12 To the extent Berkle argues that it justifiably withheld Roberts’s payment based upon
other provisions of the Contract not referenced in the Complaint, such argument constitutes an
affirmative defense unsuitable to consider under a 12(b)(6) challenge.

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Case 3:17-cv-00315-I\/|HL Document 18 Filed 08/31/18 Page 10 of 10 Page|D# 127

IV. Conclusion
For the foregoing reasons, the Court will deny the Motion to Dismiss. (ECF No. 14).

An appropriate Order shall issue.

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